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                                                                                            FILED IN OPEN COURT
                                                                                              U.S.D.C ATLANTA
                                                                                           JUL 22 2021
                                                                                      Date: __________________________
                                                                                            KEVIN P. WEIMER, Clerk
                                                                                           s/Lynn Wood Beck
                                                                                      By: ____________________________
                                                                                                Deputy Clerk
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

 UNITED STATES OF AMERICA
                                                     CRIMINAL ACTION
 V.

                                                     NO. 1:19-CR-184-MHC
 JIM C. BECK



TO THE ABOVE NAMED DEFENDANT:

      By direction of the Honorable Mark H. Cohen, United States District Judge, YOU ARE
HEREBY ORDERED to appear in the United States District Court for the Northern District of
Georgia on FRIDAY, OCTOBER 8, 2021, AT 10:00 A.M. for imposition of sentence. On that
date report to the U.S. Courthouse, Courtroom 1905, 75 Ted Turner Drive, SW, Atlanta, Georgia,
30303, where sentence will be imposed. You will receive no further notice.


        If you are under bond, your failure to appear for sentencing on this above date will result
in the forfeiture of your bond.


        IT IS FURTHER ORDERED that a Presentence Investigation and Report to this Court
will be completed, and that you report immediately to the United States Probation Office of this
Court for interview and further instruction. (Room 900 of the building).



DATE:            July 21                                  JAMES N. HATTEN, CLERK

DEFENDANT


COUNSEL:                                               BY:
                 William Thomas                                    rood Beck
                                                                  TROOM DEPUTY CLERK

NOTE: No continuance can be granted except by Order of the Court. Any request should be
brought to the Court's attention as soon as possible by having your attorney call Lynn Wood
Beck, Courtroom Deputy Clerk, at 404-215-1315.


U.S. Attorney                                        AUSA: Brent Gray, Sekret Sneed
U.S. Marshal                                         Counsel for Defendant
U.S. Probation
